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        SETTLEMENT AGREEMENT AND MUTUAL RELEASE BETWEEN
         PRAGE AND KAVULICH & ASSOCIATES,P.C., GARY KAVULICH,AND SJ
                                       COOPER REALTY,LLC
        1. Definitions.

                a. This settlement is regarding Case l:16-cv-01627-CBA-RLM, Prage v. KavuUch
                   & Associates, P.C. el ai(EDNY)(the "Lawsuit").
                b. Plaintiff is ROMAIN PRAGE a/k/a ROMAINE PRAGE.
                c. Defendants are KAVULICH & ASSOCIATES, P.C., GARY KAVULICH, AND
                   SJ COOPER REALTY, LLC. Defendants are jointly and severally liable under
                   the terms of this agreement.
                d. The Kavulich Defendants are Defendants Kavulich & Associates, P.C. and Gary
                    Kavuiich.

                e. Prage and Defendants are collectively the "Parties."
        2. Effective date. This settlement is entered into on the date of April 27, 2018 and is
           contingent on Defendants complying with their May 31,2018 settlement obligations.
        3. Defendants shall pay (or cause to be paid) $65,000 via certified check(s)("Settlement
    Checks"):
                a. $10,000 by May 31, 2018, and $5,000 on the 30"* day ofeach subsequent month,
                    except that February 20l9's payment shall be due on February 28,2019.
        4. The settlement checks shall be made payable to "Ahmad Keshavarz lOLA Trust
     Account." Defendants will issue a 1099, if at all, solely in the name of Ahmad Keshavarz.
     Defendants may request die W-9 of Ahmad Keshavarz, who will provide the same within 30
     days ofany request.
         5. By May 1, 2018 Defendants deliver a signed copy of the attached Agreed Judgment
     against all Defendants. The Agreed Judgment is for $85,000, and is joint and several as to all
     Defendants, plus 9% interest from May 31, 2018. Plaintiffs counsel will hold the signed
     confession in trust and will not enter the same so long as each Defendant timely and fully
     complies with each and every term of this settlement. Should any Defendant fail to timely and
     fully comply with any term ofthis settlement Plaintiff may file the Agreed Judgment.
         6. All documents, including settlement checks, that are due by a date certain, shall be
     delivered, with proof of receipt, by the date indicated on this settlement. Delivery shall be to The
     Law Office of Ahmad Keshavarz,located at 16 Court St., 26*^ Floor, Brooklyn,NY 11241.
         7. By May 31, 2018 Defendants shall sign and deliver, in relation to the action SJ Cooper
     Realty, LLC v. Romaine E. Prage and Taisha Dean, Index No. 114716/10, Civil Court of the
     City of New York, County of Bronx (the "collection lawsuit"), the attached Stipulation Vacating
     Judgment As to Romain Prage aka Romaine E. Prage and Discontinuing Action With Prejudice
     As to Romain Prage aka Romaine E. Prage. Within 7 business days of receipt of the
     countersigned document. Defendants shall take all steps necessary to file, have "so ordered" and
     return a file-stamped,so-ordered copy to counsel for Prage. Defendants will use their best efforts
     to get a so-ordered stipulation within 60 days.
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       8. Defendants Kavulich & Associates, P.C. and Gary Kavulich hereby agree to the entry of
    the attached five-year injunction.
        9. Prage and Defendants shall sign and exchange the attached dismissal vvith prejudice no
    later than 30 days after clearance ofthe final Settlement Check, and either party may then file the
    same.


        10. The Parties and their respective heirs, successors, and assigns hereby release and
    discharge each other and their insurers from any and all obligations, liabilities, damages, claims,
    causes of action, losses, damages, costs, sanctions, expenses and attorneys' fees of every kind
    and nature, in law or in equity, which the Parties ever had, or now has, for, on account of, or by
    any reason of any action, transaction, occurrence, omissions, relationship, matter, cause or thing
    to the extent that they relate to the Lawsuit from the beginning oftime to the date of the release.
        11. The Parties each represent and warrant that (I) they have not directly or indirectly sold,
    assigned, transferred, pledged, encumbered, conveyed or otherwise disposed of any claim,
    demand, debt, right or cause of action, in whole or in part, relating to any matter which is
    covered by this Settlement Agreement;(2)they are the sole owners of such claim, demand,debt,
    right or cause of action, and he has the power and authority and are duly authorized to enter into
    and perform this Settlement Agreement;(3)they are not aware and have not been advised ofany
    liens or other encumbrances applicable to the consideration given by Plaintiff or Defendants
    pursuant to this Settlement Agreement.
        12. This Settlement Agreement may be executed in counterparts and each such counterpart,
    together with the others, shall constitute one and the same instrument, and facsimile and
    electronic mail signatures herein shall be deemed to be original signatures for all purposes.
        13. The Parties agree that the court in which this action is pending shall have continued
    jurisdiction to enforce the terms of this settlement. This Settlement Agreement and all rights and
    obligations arising hereunder shall be construed in accordance with, and govemed by the laws of,
    the State ofNew York as if entirely performed therein and without regard to any conflict-of-laws
    rules or principles.
        14. Each and every term in this agreement is material.
        15. Time is ofthe essence.

        16. These are all of the terms ofthe settlement.
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     AGREED:

    ROMAIN PRA                                                   Date: Auril 27.2018
    PlaintifT
    By Ahmad Keshavarz, Attorney forWaintiffwIth Full Settlement Authority.


     AGREED:


     KAVW4GH^ ASSOCIATES,P.C.
     Defendanr

                                           Date: Aurii 27.2018


     Printed name: Mitchell Pashkin

     Title: Attorney



                  REALTY,LLC
     Defimd

                                           Date: Anril 27.2018


     Printed name: Mitch^ Pashkin

     Title: Attorney



     GARY KAVTJLICH                              Date: April 27.2018
     Defendant
     By Mitchell Pashkin, Attorney
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK
                                                                X
    ROMAIN PRAGE,
                                                                Case No.: l:16-cv-01627-CBA-RLM
                                    Plaintiff,
                     -against-

    KAVULICH & ASSOCIATES,P.C.,
    GARY KAVULICH and SJ COOPER REALTY,LLC,

                                    Defendants.
                                                                X


                                  AGREED FIVE-YEAR INJUNCTION

           By agreement of the Parties and pursuant to N.Y. General Business Law 349(h) the Court
    issues this injunction against Defendants KAVULICH & ASSOCIATES, P.C. and GARY
    KAVULICH for a period of five years from the date of the signing of this order to:
           1. Comply in all manners with their obligations under the Fair Debt Collection Practices
              Act, N.Y. General Business Law 349, and the N.Y. Exempt Income Protection Act.
           2. Not represent orally or in writing to consumers, or in objections to exemption claim
              forms or in other court filings that:
                     a. If funds were/are co-mingled with non-exempt funds, otherwise exempt funds
                        lose their protected status.
                     b. Without comprehensive proof of what funds are in the subject account(s) and
                        that they meet the statutory requirements entitling those funds to an
                        exemption, the plaintiff is entitled to any non-exempt funds to satisfy the
                         underlying judgment.
           3. Notify the applicable New York City Marshal to release their levy and demand (if
              any) on any bank account within 5 business days of any order that the Kavulich
                  Defendants release any bank account restraints.
           4. Notify the applicable bank within 5 business days of any order that the Kavulich
                  Defendants release bank account restraints.

           The Court shall have continued jurisdiction to enforce the terms of this Agreed
    Injunction.


    SO ORDERED this                      day of _                   ,2018.



      s/Carol Bagley Amon
    Judge Carol Baglej^nyon
    United States Distri^ Judge
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    AGREED:                               AGREED:



                        ate;
    Ahmad i^^avarz
    The Law Office of Ahinad Kesfaavarz   Mitchell Pastyn,£si|.
                                          77S Park Avendfc Suite 2S5
                                          HuntiBgtOH,NYfl743
      cC>    (
    Susan Shin
                          ;i h 1 I t i
                      Date;
                                          Attorney for Defendant KAVULICH &
    New Economy Project                   ASSOCIATES.P.C,GARY KAVULICH.
                                          and SJ COOPER REALTY,LLC
    Attorneys for PlaiBtifTROMAIN PRAGE
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    CIVIL COURT OF THE STATE OF NEW YORK
    COUNTY OF KINGS

    SJ COOPER REALTY,LLC
                                                               Index No. CV-n4716-I0/KI
    FlaintifT,
                                                               STIPULATION VACATING JUDGMENT
    -against-                                                  AGAINST ROMAIN PRAGE AKA
                                                               ROMAINE E.PRAGE AND
    ROMAINE E.PRAGE &TAISHA DEAN,                              DISCONTINUING ACTION
                                                               WITH PREJUDICE AS TO ROMAIN
    Defendants.                                                PRAGE AKA ROMAINE E.PRAGE


    IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned attorneys of
    record for all parties to the above entitled action, that whereas no party hereto is an infant or
    incompetent person for whom a committee has been appointed and no person not a party has an
    interest In the subject matter of the action, the attached stipulation of settlement in the above
    entitled action, dated December 5, 2016, be vacated, and the above titled action »- for a putative
    debt Defendant contests the validity of - be discontinued on the merits with prejudice, without
    costs to either party as against the other.

    This Stipulation may be filed without further notice with the Clerk of the Court.

    Dated:                                        Dated:




    ByL                                           By:^

    KAVULICH & ASSOCIATES,P.C.                    ROMAIN PRAGE
    Allorneyfor Plaintiff                         Pro Se Defendant
    181 Westchester Avenue                        420 Marlborough Road
    Suite 50DC                                    Brooklyn,NY 11228
    Port Chester, NY 10573

    SO ORDERED:
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

    ROMAIN PRAGE,
                                                              Case No,: l:16-cv-01627-CBA-
                                                              RLM
                                 Plaindir,
                  -against-

    KAVULICH & ASSOCIATES,P.C.,
    GARY KAVULICH and SJ COOPER REALTY,LLC,

                                 Defendants.



                              AGREED JUDGMENT IN CIVIL CASE

            Plaintiff ROMAIN PRAGE files this AGREED JUDGMENT IN CIVIL and asks the

    clerk to enterjudgment based on the same.

            WHEREAS Plaintiff ROMAIN PRAGE and Defendants KAVULICH & ASSOCIATES,

    P.C., GARY KAVULICH and SJ COOPER REALTY, LLC, jointly and severally,
    ("Defendants") entered into a Settlement Agreement in this Action on or about April 27, 2018
    (the "Settlement Agreement).

            WHEREAS, Defendants, jointly and severally, agreed, inter alia, to make certain
     payments to Plaintiff pursuant to the terms ofthe Settlement Agreement;
            WHEREAS, Defendants,jointly and severally, signed this Agreed Judgment as part of

    the Settlement Agreement;

            WHEREAS, Defendants, jointly and severally, agreed as part of the Settlement

     Agreement that Plaintiffs counsel would hold this signed Agreed Judgment in escrow to ensure
     the compliance of each Defendants full, timely compliance with each and every term of the
     Settlement Agreement;

            WHEREAS, Defendants, jointly and severally, agreed that if any Defendant failed to
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     timely comply with any provision of the Settlement Agreement, PiaintifTs counsel may

     immediately enter this Agreed Judgment, with 9% interest on $85,000, with credit for payments,

     if any,from May 31,2018 until thejudgment is satisfied;

             WHEREAS, one or more Defendants have in fact failed to timely comply with one or

      more provisions ofthe Settlement Agreement;

            THEREFORE, Plaintiff moves to enter judgment against Defendants KAVULICH &

     ASSOCIATES. P.O., GARY KAVULICH and SJ COOPER REALTY, LLC, jointly and

     severally in the amount of$85,000, with credit for payments, if any, plus 9% interest from May

     31,2018 until the judgment is satisfied.




     AGREED:           ^^^                           AGREED:



                          Datdf^^27,2018                                      Date: Aoril27,2018
     Ahmad Keshavarz
     The Law Office of Ahmad Keshavarz                Mitchell Pasbkm^l^q.
                                                     775 Park Avenue,^ite 255
                                                      Huntington,NV11743
       ^      (j          Date; Aniil 27.2018
     Susan Shin                                       Attorney for Defendants KAVULICH &
     New Economy Project                              ASSOCIATES,P.C.,GARY KAVULICH,
                                                     and SJ COOPER REALTY,LLC
     Attorneys for Plaintiff ROMAIN PRAGE
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
                                                           -X
    ROMAIN PRAGE,
                                                              Case No.: l:16-cv-01627-CBA-RLM
                                  Plaintiff,
                  -against-

    KAVULICH & ASSOCIATES,P.C.,
    GARY KAVULICH and SJ COOPER REALTY,LLC,

                                  Defendants.




                                               JUDGMENT

            IT IS ORDERED AND ADJUDGED, pursuant to the Agreed Civil judgment signed by

    Plaintiff Romain Prage and Defendants KAVULICH & ASSOCIATES, P.C., GARY

    KAVULICH and SJ COOPER REALTY, LLC signed on or about April 27. 2018. Judgment is

    hereby entered in favor of Plaintiff Romain Prage and against Defendants KAVULICH &
    ASSOCIATES, P.C., GARY KAVULICH and SJ COOPER REALTY, LLC, jointly and

    severally, for $85,000, with credits for payments made, if any, plus interest from May 31, 2018
    to satisfaction ofjudgment.



    Date:                                      Douglas C. Palmer
                                                   Clerk of Court




                                          By;
                                                   Deputy Clerk
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                                                    AGREED:



                         Date: Aoril 27.2018                               Date: Aoril 27.2018
      Ahmad Keshavarz
      The Law Office of Ahmad Keshavarz             MitchelrPmii^ln,Esq.
                                                    775 Park Avenue,Suite 255

       0
        A- U            Date: Anril 27.2018
                                                    HuntlogtoA NY 11743
                                                              \
      Susan Shin                                    Attorney for Defendants KAVULICH &
      New Economy Project                           ASSOCIATES,P.O.,GARY KAVULICH,
                                                    and SJ COOPER REALTY,LLC
      Attorneys for PlalnttffROMAIN PRAGE




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